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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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      DISPLAY TECHNOLOGIES, LLC,
                                                     CASE NO. 5:22-cv-00687
11                       Plaintiff,
                                                     COMPLAINT FOR PATENT
12    v.
                                                     INFRINGEMENT
13
      BIONIME USA CORPORATION,
14
                                                     DEMAND FOR JURY TRIAL
                         Defendant.
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17         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
18   Complaint against Bionime USA Corporation (“Defendant” or “Bionime USA”) for
19   infringement of United States Patent No. 9,300,723 (the “ ‘723 Patent”).
20                            PARTIES AND JURISDICTION
21         1.     This is an action for patent infringement under Title 35 of the United
22   States Code. Plaintiff is seeking injunctive relief as well as damages.
23         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
24   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
25   infringement arising under the United States patent statutes.
26         3.     Plaintiff is a Texas limited liability company with an address of 1 East
27   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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 1          4.     On information and belief, Defendant is a California corporation with a
 2   principal place of business at 1450 E Spruce St., Bldg. B, Ontario, CA 91761, or
 3   Rancho Bernardo Rd, Ste 100, San Diego, CA 92127, United States. On information
 4   and belief, Defendant may be served through its agent, Ching-Yi Chen, 1450 E Spruce
 5   St, Bldg B, Ontario, CA 91761.
 6          5.     This Court has personal jurisdiction over Defendant because Defendant
 7   has committed, and continues to commit, acts of infringement in this District, has
 8   conducted business in this District, and/or has engaged in continuous and systematic
 9   activities in this District.
10          6.     Upon information and belief, Defendant’s instrumentalities that are
11   alleged herein to infringe were and continue to be used, imported, offered for sale,
12   and/or sold in this District.
13                                           VENUE
14          7.     On information and belief, venue is proper in this District under 28
15   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
16   of infringement are occurring in this District and Defendant has a regular and
17   established place of business in this District.
18                                          COUNT I
19         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
20          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
21          9.     This cause of action arises under the patent laws of the United States
22   and, in particular, under 35 U.S.C. §§ 271, et seq.
23          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
24   to enforce the ‘723 Patent and sue infringers.
25          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
26   communications,” is attached hereto as Exhibit A.
27          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
28   compliance with Title 35 of the United States Code.
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 1         13.   Defendant has infringed and continues to infringe one or more claims,
 2   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
 3   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
 4   makes, uses, and/or sells the Rightest Glucose Meter, associated software, hardware
 5   and/or apps (e.g., Rightest CARE app), and any similar products (“Product”).
 6   Defendant has infringed and continues to infringe the ‘723 Patent in violation of 35
 7   U.S.C. § 271.
 8         14.   Regarding Claim 1, the Product is a media system through which a user
 9   can view a media file (e.g. camera photos) from a camera, through a media terminal
10   (e.g., smartphone) from a media node (e.g., Bluetooth server) over a communication
11   network (e.g. Bluetooth network) through a communication link (wireless
12   communication). Certain aspects of this element are illustrated in the screenshots
13   below and/or those provided in connection with other allegations herein.
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 1         15.   The Product includes at least one media terminal disposed in an
 2   accessible relation to at least one interactive computer network. For example, the
 3   Bluetooth network is used for sending camera photos by detecting a smartphone (at
 4   least one media terminal) when the Rightest CARE App is installed on the smartphone
 5   and connected with the Rightest Glucose meter through a Bluetooth network (i.e.
 6   computer network). Certain aspects of this element are illustrated in the screenshots
 7   below and/or in those provided in connection with other allegations herein.
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           16.   A wireless range is structured to permit authorized access to the at least
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 1   one interactive computer network. For example, the smartphone is connected with
 2   the Rightest Glucose meter through a Bluetooth when the Rightest Glucose meter are
 3   within Bluetooth range (wireless range) that permits the connection of the smartphone
 4   by the wireless network (interactive computer network).
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           17.   At least one media node is disposable within the wireless range, wherein
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     the at least one media node is detectable by the at least one media terminal. For
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     example, the media node (connecting Rightest Glucose meter and smartphone
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     through a Bluetooth network) sends Bluetooth signals, which are detected by the
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     smartphone (at least one media terminal) when the smartphone is in the camera’s
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     Bluetooth range. Certain aspects of this element are illustrated in the screenshots
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     below and/or those provided in connection with other allegations herein.
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           18.   At least one digital media file is initially disposed on at least one of the

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     at least one media terminal or the at least one media node and the at least one media

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     terminal is structured to detect the at least one media node disposed within the

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     wireless range. For example, the smartphone (media terminal) is connected with the
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 1   Rightest Glucose meter through a Bluetooth when the smartphone comes within range
 2   (wireless) of the Bluetooth signals. When the smartphone is connected with the
 3   Rightest Glucose meter, the user can view photos and digital files of a Rightest
 4   Glucose meter on the Smartphone (digital media file).
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25         19.   A communication link is structured to dispose the at least one media
26   terminal and the at least one media node in a communicative relation with one another
27   via the at least one interactive computer network. For example, the smartphone
28   (media terminal) connects when the Rightest Glucose meter (i.e. media node) comes
                                              8
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 1   to the Bluetooth range detected by Smartphone (at least one media terminal) through
 2   a Bluetooth network (interactive computer network).
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           20.    The communication link is initiated by the at least one media terminal.
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     For example, the communication link, i.e. Bluetooth network, which is the link
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     between smartphone and the Rightest Glucose meter (i.e. media node) whenever the
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     Rightest Glucose meter (i.e. media node) comes to Bluetooth range of Smartphone
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     (at least one media terminal).
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  21         21.    The at least one media node and the at least one media terminal are
  22   structured to transmit the at least one digital media file therebetween via the
  23   communication link. For example, the smartphone is connected with the Rightest
  24   Glucose meter through a Bluetooth network (media node) when the smartphone
  25   (media terminal) is within the Bluetooth range. The user can then view photos and
  26   digital files of the Rightest Glucose meter on the smartphone (digital media file).
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             22.    The communication link is structured to bypass at least one media
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       terminal security measure for a limited permissible use of the communication link by
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       the media node to only transferring the at least one digital media file to, and displaying
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       the at least one digital media file on, the at least one media terminal. For example,
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       the communication link is structured so that whenever the user installs the application
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       on the smartphone (media terminal), the smartphone is connected with the Rightest
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   1   Glucose meter through a Bluetooth (i.e. media terminal security) when the
   2   smartphone is within range (wireless) of the Bluetooth signals. When the smartphone
   3   is connected with the Rightest Glucose meter, the user can view photos and digital
   4   files of a camera on the Smartphone (digital media file).
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  13         23.    Defendant’s actions complained of herein will continue unless
  14   Defendant is enjoined by this court.
  15         24.    Defendant’s actions complained of herein are causing irreparable harm
  16   and monetary damage to Plaintiff and will continue to do so unless and until
  17   Defendant is enjoined and restrained by this Court.
  18         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
  19                                PRAYER FOR RELIEF
  20         WHEREFORE, Plaintiff asks the Court to:
  21         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  22   asserted herein;
  23         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  24   employees, attorneys, and all persons in active concert or participation with Defendant
  25   who receive notice of the order from further infringement of United States Patent No.
  26   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
  27   judgment going forward);
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   1          (c)    Award Plaintiff damages resulting from Defendant’s infringement in
   2   accordance with 35 U.S.C. § 284;
   3          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
   4          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
   5   entitled under law or equity.
   6                                       JURY DEMAND
   7          Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff respectfully
   8   requests a trial by jury on all issues so triable.
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  10   Dated: April 21, 2022                     Respectfully submitted,
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                                                 /s/Stephen M. Lobbin
  12                                             Attorney(s) for Plaintiff
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